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Andrew J. Miller
ODEGAARD KOVACICH SNIPES, PC
550 North 31st Street, Suite 200
Billings, Montana 59101
Tel: (406) 222-2222
Fax: (406) 259-3232
amiller@mtlawyers.com

        Attorneys for Plaintiff Paul Erftenbeck


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

     PAUL ERFTENBECK                              CV 19-30-BU-BMM-KLD

                Plaintiff,

         vs.                                      STIPULATION FOR DISMISSAL

     WILDER RESORTS, INC., d.b.a.
     FAIRMONT HOT SPRINGS RESORT,
     and
     JOHN DOES 1-10, inclusive,

                Defendants.

        COMES NOW, the above-named parties, by and through their counsel of

record, and hereby stipulate and agree that this case may be dismissed with

prejudice, each side to bear their own costs and attorneys’ fees.

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DATED this 19th day of January, 2021.

                             ODEGAARD KOVACICH SNIPES, PC

                             By: _/s/ Andrew J. Miller_______________
                                   Andrew J. Miller
                                   550 North 31st Street, Suite 200
                                   Billings, MT 59101
                                   Attorneys for Plaintiff

                             CROWLEY FLECK PLLP

                             By: _/s/ Brett P. Clark________________
                                   Brett P. Clark
                                   P.O. Box 797
                                   Helena, MT 596240797
                                   Attorneys for Defendant




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